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 7                                      UNITED STATES DISTRICT COURT

 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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10    JARED K. RYSEDORPH,                                  No. 2:24-cv-1714 DB P
11                         Plaintiff,
12             v.
13    BINI JOHN,                                           ORDER
14                         Defendant.
15

16            Plaintiff, a state prisoner proceeding pro se, has filed a civil rights action pursuant to 42

17   U.S.C. § 1983, together with a request to proceed in forma pauperis. In his complaint, plaintiff

18   alleges violations of his civil rights by defendant. The alleged violations took place in Kern

19   County, which is part of the Fresno Division of the United States District Court for the Eastern

20   District of California. See Local Rule 120(d).

21            Pursuant to Local Rule 120(f), a civil action which has not been commenced in the proper

22   division of a court may, on the court’s own motion, be transferred to the proper division of the

23   court. Therefore, this action will be transferred to the Fresno Division of the court. In light of

24   1996 amendments to 28 U.S.C. § 1915, this court will not rule on plaintiff’s request to proceed in

25   forma pauperis.

26            Good cause appearing, IT IS HEREBY ORDERED as follows:

27            1. This court has not ruled on plaintiff’s request to proceed in forma pauperis (ECF No.

28   2);
                                                          1
         Case 1:24-cv-00725-EPG Document 5 Filed 06/21/24 Page 2 of 2


 1             2. This action is transferred to the United States District Court for the Eastern District of

 2   California sitting in Fresno; and

 3             3. All future filings shall reference the new Fresno case number assigned and shall be

 4   filed at:
                              United States District Court
 5                            Eastern District of California
                              2500 Tulare Street
 6                            Fresno, CA 93721
 7   Dated: June 21, 2024

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